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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


    UNITED STATES                                       CRIMINAL ACTION

    VERSUS                                                         NO. 09-391

    FELTON WEST                                                   SECTION “R”



                          ORDER AND REASONS

       Before the Court is Defendant Felton West’s motion to vacate, set

aside, or correct his sentence under 28 U.S.C. § 2255, and his motion for

appointment of counsel.1 For the following reasons, the Court denies the

motions.



I.     BACKGROUND

       On August 10, 2011, West pleaded guilty to Count One of the 2nd

Superseding Indictment, conspiracy to distribute and possess with intent to

distribute 1 kilogram or more of a substance containing a detectable amount

of heroin and 500 grams or more of a substance containing a detectable

amount of cocaine hydrochloride, in violation of 21 U.S.C. § 841(a)(1),

(b)(1)(A), and (b)(1)(B), and § 846, and Count Six, possessing a firearm in


1      R. Doc. 921.
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furtherance of a drug trafficking crime, in violation of 18 U.S.C.

§ 924(c)(1)(A).2     West was sentenced to 180 months imprisonment,

reflecting 120 months as to Count 1, and 60 months as to Count 6, to be

served consecutively.3 West now asks the Court to vacate, set aside, or

correct his sentence. 4



II.     DISCUSSION

        West argues that his conviction under 18 U.S.C. § 924(c) is invalid after

Johnson v. United States, 135 S. Ct. 2551 (2015). 5 The Supreme Court in

Johnson held that the “residual clause” of the Armed Career Criminal Act is

unconstitutionally vague. Id. at 2557. This clause defines a “violent felony”

as, among other things, a felony “involv[ing] conduct that presents a serious

potential risk of physical injury to another.” See id. at 2555-56 (quoting 18

U.S.C. § 924(e)(2)(B)). But West was convicted of possessing a firearm in

furtherance of a drug trafficking crime, not a “violent felony” or a “crime of

violence.” The Supreme Court’s opinion in Johnson did not affect, or even




2       R. Doc. 691.
3       Id.
4       R. Doc. 921.
5       Id.; R. Doc. 925.
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address, the “drug trafficking crime” definition in 18 U.S.C. § 924(c). West’s

claim is therefore meritless.6

      West requests that the Court appoint counsel to assist him with his

motion to vacate. 7 Prisoners mounting collateral attacks on their convictions

do not have a right to counsel under the Sixth Amendment.                   See

Pennsylvania v. Finley, 481 U.S. 551, 555 (1987). But a court has discretion

to appoint counsel to a “financially eligible person” seeking relief under 28

U.S.C. § 2255 when “the interests of justice so require.”            18 U.S.C.

§ 3006A(a)(2). For the reasons stated above, West’s motion to vacate lacks

a legal basis and does not warrant appointment of counsel.

      Rule 11 of the Rules Governing Section 2255 Proceedings provides that

“[t]he district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant. Before entering the final order,

the court may direct the parties to submit arguments on whether a certificate

should issue.” Rules Governing Section 2255 Proceedings, Rule 11(a). A

court may issue a certificate of appealability only if the petitioner makes “a

substantial showing of the denial of a constitutional right.” 28 U.S.C.


6    The Government also argues that this post-conviction challenge is
procedurally defaulted and barred by the appeal waiver in West’s plea
agreement. See R. Doc. 972. Because West’s motion fails on the merits, the
Court need not address these arguments.
7    R. Doc. 921.
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§ 2253(c)(2); Rules Governing Section 2255 Proceedings, Rule 11(a) (noting

that § 2253(c)(2) supplies the controlling standard).          The “controlling

standard” for a certificate of appealability requires the petitioner to show

“that reasonable jurists could debate whether (or, for that matter, agree that)

the petition should have been resolved in a different manner or that the

issues presented [are] ‘adequate to deserve encouragement to proceed

further.’” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003).

      For the reasons set forth in this order, West has not made a substantial

showing of the denial of a constitutional right.



III. CONCLUSION

      For the foregoing reasons, West’s motion for appointment of counsel

is DENIED. Further, West’s motion to vacate, set aside, or correct his

sentence is DENIED. The Court will not issue a certificate of appealability.



      New Orleans, Louisiana, this _______
                                     11th  day of December, 2017.




                      _____________________
                           SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE


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